      Case: 2:19-cr-00194-ALM Doc #: 59 Filed: 05/20/21 Page: 1 of 1 PAGEID #: 239



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


UNITED STATES OF AMERICA,
               Plaintiff,
                                                                Case No. 2:19-cr-194
         vs.



VINCENT BROCOLI,                                                CHIEF JUDGE MARBLEY
                        Defendant.




                                           ORDER TO SEAL


         The Government having moved to seal this case, and the Court being duly advised in the premises;

         IT IS HEREBY ORDERED that the government's response to Defendant's motion for

compassionate release in this case be SEALED, and all related documents maintained in a safe place and

not be opened unless by further Order of this Court.




                                                 ALGENONy MARBLEY
                                                 CHIEF iWtED STATES DISTRICT JUDGE
Dat
